             Case 3:22-cv-00058-RBM-BLM Document 22 Filed 03/04/22 PageID.159 Page 1 of 32




                1 LEWIS BRISBOIS BISGAARD & SMITH LLP
                  ASHLEIGH R. KASPER, SB# 294963
                2   E-Mail: Ashleigh.Kasper@lewisbrisbois.com
                  TIMOTHY J. WATSON, SB# 131650
                3   E-Mail: Tim.Watson@lewisbrisbois.com
                  633 West 5th Street, Suite 4000
                4 Los Angeles, California 90071
                  Telephone: 213.250.1800
                5 Facsimile: 213.250.7900
                6
                    THOMPSON HINE LLP
                7   MEGAN S. GLOWACKI, (Pro Hac Vice)
                      E-Mail: Megan.Glowacki@ThompsonHine.com
                8   ANTHONY P. McNAMARA, (Pro Hac Vice)
                      E-Mail: Anthony.McNamara@ThompsonHine.com
                9   312 Walnut Street, Suite 2000
                    Cincinnati, Ohio 45202
               10   Telephone: 513.352.6700
                    Facsimile: 513.241.4771
               11
                  Attorneys for Defendant,
               12 NOURYON SURFACE CHEMISTRY
                  LLC
               13
               14                                   UNITED STATES DISTRICT COURT
               15                             SOUTHERN DISTRICT OF CALIFORNIA
               16
               17 DENNIS CRIMMINS,                                  Case No. 22-cv-00058-BAS-BLM
               18                      Plaintiff,                   ANSWER OF DEFENDANT
                                                                    NOURYON SURFACE
               19            vs.                                    CHEMISTRY LLC
               20 NOURYON SURFACE CHEMISTRY,                        Trial Date:       None Set
                  LLC, a California Limited Liability
               21 Company; THE CARLYLE GROUP,
                  INC., a Califomia Corporation;
               22 CHARLIE SHAVER; an Individual; ‘
                  SUZANNE M. CARROLL, an
               23 Individual; BAHAR AZIMIPOUR, an
                  Individual;’and DOES 1 through 25,
               24 Inclusive,
               25                      Defendant.
               26
               27            Defendant NOURYON SURFACE CHEMISTRY LLC (“Defendant” or
LEWIS          28 “Nouryon”), by and through their undersigned attorneys, hereby submit the
B RISBOIS
B ISGAARD           4867-8113-8962.2                                            Case No. 22-cv-00058-BAS-BLM
& SMITHLLP
                                         ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC
             Case 3:22-cv-00058-RBM-BLM Document 22 Filed 03/04/22 PageID.160 Page 2 of 32




                1 following Answer and Affirmative Defenses to Plaintiff DENNIS CRIMMINS’
                2 (“Plaintiff”) Complaint (“Complaint”).
                3                                             SUMMARY
                4            1.        Nouryon admits that the Complaint purports to commence an action
                5 against it, and that it also purports to commence an action against The Carlyle
                6 Group, Inc. (“Carlyle”) and Nouryon employees Charles Shaver, Bahar Azimipour,
                7 and Suzanne Carroll (the “Individuals”), all of whom have since been dismissed
                8 from this action, with prejudice (ECF No. 21). Nouryon denies all remaining
                9 allegations set forth in Paragraph 1 of the Complaint.
               10            2.        The allegations set forth in Paragraph 2 of the Complaint assert legal
               11 conclusions to which no response is required. To the extent a response is required,
               12 Nouryon denies the allegations in Paragraph 2 including, specifically, all allegations
               13 of discrimination or harassment.
               14            3.        To the extent Paragraph 3 of Plaintiff’ sets forth legal conclusions, no
               15 response is required. If one is required, Nouryon admits Plaintiff’s Complaint
               16 purports to bring this action against Nouryon, Carlyle, and the Individuals for
               17 economic, non-economic, compensatory, and punitive damages pursuant to Civil
               18 Code § 3294, pre-judgment interest pursuant to Code of Civil Procedure § 3291, and
               19 costs and reasonable attorneys’ fees pursuant to Government Code § 12965(b) and
               20 Code of Civil Procedure 1021.5. Nouryon denies any remaining allegations in
               21 Paragraph 3 of the Complaint and specifically denies Plaintiff is entitled to any of
               22 the relief requested.
               23                                              PARTIES
               24            4.        Nouryon lacks knowledge or information sufficient to form a belief as
               25 to the truth of the allegations in Paragraph 4 of the Complaint and therefore denies
               26 them.
               27            5.        To the extent this paragraph sets forth legal conclusions, no response is

LEWIS          28 required. If one is required, Nouryon admits that, during the course of Plaintiff’s
B RISBOIS
B ISGAARD
& SMITHLLP
                    4867-8113-8962.2                             2              Case No. 22-cv-00058-BAS-BLM
                                         ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC
             Case 3:22-cv-00058-RBM-BLM Document 22 Filed 03/04/22 PageID.161 Page 3 of 32




                1 employment with Nouryon, it employed individuals working in California.
                2 Nouryon further admits that it employed Plaintiff from in or around October 2018
                3 until it terminated his employment on or about February 26, 2021 and that when
                4 Plaintiff’s employment with Nouryon terminated, he was working in or near San
                5 Diego County, California. All remaining allegations set forth in Paragraph 5 of the
                6 Complaint are denied.
                7            6.        Nouryon states the allegations in Paragraph 6 of the Complaint relate
                8 solely to a party that has been dismissed from this action and therefore no response
                9 is required. If one is required, Nouryon states that it is without knowledge or
               10 information sufficient to form a belief as to the allegations of Paragraph 6 and
               11 therefore denies them.
               12            7.        The allegations set forth in Paragraph 7 of the Complaint assert legal
               13 conclusions to which no response is required. If one is required, Nouryon denies the
               14 allegations in Paragraph 7.
               15            8.        Nouryon admits that Mr. Shaver is a resident of the Commonwealth of
               16 Pennsylvania. All remaining allegations set forth in Paragraph 8 of the Complaint
               17 are denied.
               18            9.        Nouryon admits that Suzanne M. Carroll is the Global Vice President
               19 of Home and Personal Care Development at Nouryon. Nouryon admits that Ms.
               20 Carroll is a resident of the Commonwealth of Pennsylvania and has been a resident
               21 of that Commonwealth since at least December 2019. Nouryon states that it lacks
               22 knowledge or information sufficient to form a belief as to the truth of whether Ms.
               23 Carroll was a resident of the Commonwealth of Pennsylvania prior to that date. All
               24 remaining allegations set forth in Paragraph 9 of the Complaint are denied.
               25            10.       Nouryon denies that Bahar Azimipour’s job title at Nouryon is that of
               26 Regional Sales Manager. Nouryon admits that Ms. Azimipour is a resident of the
               27 Commonwealth of Pennsylvania and has been a resident of that Commonwealth

LEWIS          28 since at least August 3, 2020. Nouryon states that it lacks knowledge or information
B RISBOIS
B ISGAARD
& SMITHLLP
                    4867-8113-8962.2                             3              Case No. 22-cv-00058-BAS-BLM
                                         ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC
             Case 3:22-cv-00058-RBM-BLM Document 22 Filed 03/04/22 PageID.162 Page 4 of 32




                1 sufficient to form a belief as to the truth of whether Ms. Azimipour was a resident of
                2 the Commonwealth of Pennsylvania prior to that date. All remaining allegations set
                3 forth in Paragraph 10 of the Complaint are denied.
                4            11.       Paragraph 11 of the Complaint does not include any allegations
                5 requiring a response. If one is required, Nouryon denies the allegations set forth in
                6 Paragraph 11.
                7            12.       The allegations set forth in Paragraph 12 of the Complaint assert legal
                8 conclusions to which no response is required. To the extent a response is required,
                9 Nouryon denies the allegations in Paragraph 12.
               10                                  JURISDICTION AND VENUE
               11            13.       The allegations set forth in Paragraph 13 of the Complaint assert legal
               12 conclusions to which no response is required. To the extent a response is required,
               13 Nouryon denies the allegations in Paragraph 13. However, Nouryon does not contest
               14 venue of this matter in the United States District Court for the Southern District of
               15 California.
               16                      EXHAUSTION OF ADMINISTRATIVE REMEDIES
               17            14.       The Right-to-Sue Notice attached to the Complaint as Exhibit A is a
               18 written document that speaks for itself. Nouryon is without knowledge or
               19 information sufficient to form a belief as to whether Plaintiff filed a charge of
               20 discrimination with the DFEH. The remaining allegations set forth in Paragraph 14
               21 of the Complaint assert legal conclusions to which no response is required. To the
               22 extent a response is required, Nouryon denies those allegations.
               23            15.       The allegations set forth in Paragraph 15 of the Complaint assert legal
               24 conclusions to which no response is required. To the extent a response is required,
               25 Nouryon denies the allegations in Paragraph 15.
               26                                   FACTUAL ALLEGATIONS
               27            16.       Nouryon incorporates its admissions and denials to the foregoing

LEWIS          28 Paragraphs as if fully set forth herein.
B RISBOIS
B ISGAARD
& SMITHLLP
                    4867-8113-8962.2                             4              Case No. 22-cv-00058-BAS-BLM
                                         ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC
             Case 3:22-cv-00058-RBM-BLM Document 22 Filed 03/04/22 PageID.163 Page 5 of 32




                1            17.       Nouryon is without knowledge or information sufficient to form a
                2 belief as to the truth of the allegations set forth in Paragraph 17 of the Complaint
                3 and therefore denies them.
                4            18.       Nouryon is without knowledge or information sufficient to form a
                5 belief as to the truth of the allegations set forth in Paragraph 18 of the Complaint
                6 and therefore denies them.
                7            19.       Nouryon is without knowledge or information sufficient to form a
                8 belief as to the truth of the allegations set forth in Paragraph 19 of the Complaint
                9 and therefore denies them.
               10            20.       Nouryon admits that in October 2018, multiple private equity
               11 investment funds that are managed by direct and/or indirect subsidiaries of Carlyle
               12 acquired Akzo Nobel N.V.’s Specialty Chemicals business and subsequently
               13 renamed it “Nouryon,” and further admits that Defendant Nouryon Surface
               14 Chemistry LLC is a wholly owned subsidiary of the Nouryon parent entity that was
               15 acquired by Carlyle-managed private equity investment funds. All remaining
               16 allegations set forth in Paragraph 20 of the Complaint are denied.
               17            21.       Nouryon denies the allegations set forth in Paragraph 21 of the
               18 Complaint.
               19            22.       Nouryon denies that Plaintiff worked for Nouryon for over 24 years, or
               20 that Plaintiff worked for Nouryon at any time prior to October 2018. Nouryon has
               21 only existed since 2018. Nouryon admits that, during Plaintiff’s employment with
               22 Nouryon, it paid him certain bonuses and increased his base salary on occasion.
               23 Nouryon denies the remaining allegations set forth in Paragraph 22 of the
               24 Complaint.
               25            23.       Nouryon is without knowledge or information sufficient to form a
               26 belief as to the truth of the allegations regarding what Plaintiff “heard” and therefore
               27 denies those allegations. Nouryon denies all remaining allegations in Paragraph 23

LEWIS          28 of the Complaint, including specifically denying that it created, implemented, or
B RISBOIS
B ISGAARD
& SMITHLLP
                    4867-8113-8962.2                             5              Case No. 22-cv-00058-BAS-BLM
                                         ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC
             Case 3:22-cv-00058-RBM-BLM Document 22 Filed 03/04/22 PageID.164 Page 6 of 32




                1 enforced any discriminatory or otherwise illegal employment policies.
                2            24.       Nouryon is without knowledge or information sufficient to form a
                3 belief as to the truth of what Mr. Jirak allegedly told Plaintiff in or around March
                4 2019. Nouryon denies all remaining allegations set forth in Paragraph 24 of the
                5 Complaint, including specifically denying that it created, implemented, or enforced
                6 any discriminatory or otherwise illegal employment policies.
                7            25.       Nouryon admits that Mr. Jirak voluntarily resigned his employment
                8 with Nouryon in or around April 2019, and that Plaintiff subsequently reported to
                9 AB Gohsh. All remaining allegations set forth in Paragraph 25 of the Complaint are
               10 denied.
               11            26.       Nouryon denies the allegations set forth in Paragraph 26 of the
               12 Complaint. Specifically, in the period leading up to Plaintiff’s termination of
               13 employment he exhibited multiple performance failures including a lack of
               14 diligence, lack of responsibility, unwillingness to follow instructions from his
               15 supervisor, and acting beyond his authority and against Nouryon’s interests.
               16            27.       Nouryon is without knowledge or information sufficient to form a
               17 belief as to the truth of whether Plaintiff was “persuaded” to remain employed with
               18 Nouryon in or around June 2019, whether Plaintiff was inclined to leave Nouryon’s
               19 employment at that time, or any of the alleged contents of the conversation between
               20 Plaintiff and Mr. Gohsh as alleged in Paragraph 27 of the Complaint. Plaintiff
               21 admits that during the period when he reported to Mr. Gohsh, Plaintiff was offered
               22 and accepted a retention bonus of approximately $45,000.00. All remaining
               23 allegations set forth in Paragraph 27 of the Complaint are denied.
               24            28.       Nouryon is without knowledge or information sufficient to form a
               25 belief as to the truth of the contents of Plaintiff’s alleged conversation with Mr.
               26 Gohsh as described in Paragraph 28 of the Complaint and therefore denies that
               27 allegation. All remaining allegations set forth in Paragraph 28 are denied.

LEWIS          28 / / /
B RISBOIS
B ISGAARD
& SMITHLLP
                    4867-8113-8962.2                             6              Case No. 22-cv-00058-BAS-BLM
                                         ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC
             Case 3:22-cv-00058-RBM-BLM Document 22 Filed 03/04/22 PageID.165 Page 7 of 32




                1            29.       Nouryon admits the allegations set forth in Paragraph 29 of the
                2 Complaint.
                3            30.       Nouryon is without knowledge or information sufficient to form a
                4 belief as to the truth of the allegations regarding the injuries suffered by Plaintiff’s
                5 son, their nature, or the circumstances under which they were sustained, and
                6 therefore denies those allegations. Nouryon admits that Plaintiff rejected offers from
                7 Nouryon for him to take family and medical leave to care for his son at the hospital
                8 and that Plaintiff instead expressed his desire to work full time while providing such
                9 care. Nouryon further admits that Plaintiff asked for flexibility in his schedule
               10 during this period, but denies that he asked for “understanding.” All remaining
               11 allegations set forth in Paragraph 30 of the Complaint are denied.
               12            31.       Nouryon denies the allegations set forth in Paragraph 31 of the
               13 Complaint.
               14            32.       Nouryon is without knowledge or information sufficient to form a
               15 belief as to the truth of what Plaintiff “learned through one of the finance analysts,”
               16 whether any finance analyst called Plaintiff, or what such finance analyst allegedly
               17 “conveyed,” and therefore denies those allegations. Nouryon admits that Plaintiff
               18 was responsible for attending monthly business line meetings and, in situations
               19 when he could not attend those meetings, he was responsible for ensuring that
               20 someone else from his team was present to attend those meetings and prepared to
               21 participate, and further admits that after Plaintiff failed to attend a March 2020
               22 business line meeting and failed to provide a prepared replacement, Ms. Carroll
               23 expressed that either Plaintiff or a replacement needed to attend. All remaining
               24 allegations set forth in Paragraph 33 of the Complaint are denied.
               25            33.       Nouryon is without knowledge or information sufficient to form a
               26 belief as to the truth of the alleged conversations involving Plaintiff and coworkers
               27 and therefore denies those allegations. Nouryon denies the remaining allegations set

LEWIS          28 forth in Paragraph 33 of the Complaint.
B RISBOIS
B ISGAARD
& SMITHLLP
                    4867-8113-8962.2                             7              Case No. 22-cv-00058-BAS-BLM
                                         ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC
             Case 3:22-cv-00058-RBM-BLM Document 22 Filed 03/04/22 PageID.166 Page 8 of 32




                1            34.       Nouryon is without knowledge or information sufficient to form a
                2 belief as to the truth of the allegations in Paragraph 34 of the Complaint and
                3 therefore denies them.
                4            35.       Nouryon is without knowledge or information sufficient to form a
                5 belief as to the truth of the allegations in Paragraph 35 of the Complaint and
                6 therefore denies them.
                7            36.       Nouryon admits that two employees who reported to Plaintiff went on
                8 maternity leave in early 2020. While Nouryon admits that Plaintiff “covered” these
                9 employees’ accounts during their leave, Nouryon denies that such coverage required
               10 significant time or any proactive activity from Plaintiff, as opposed to simply
               11 responding to customer calls or questions. Nouryon is without knowledge or
               12 information sufficient to form a belief as to the truth of the remaining allegations set
               13 forth in Paragraph 36 of the Complaint and therefore denies them.
               14            37.       Nouryon admits that when Ms. Carroll first began working for
               15 Nouryon and Plaintiff began reporting to Ms. Carroll, Ms. Carroll and Plaintiff
               16 discussed Plaintiff’s request to continue living in California instead of relocating to
               17 the Eastern United States, and that as part of Ms. Carroll’s agreement to
               18 accommodate Plaintiff’s preference of living in California, Ms. Carroll advised and
               19 Plaintiff agreed, that he would need to be available for global calls early in the
               20 morning. Nouryon further admits that such calls arose during the time Plaintiff was
               21 allegedly caring for his son, that having refused Nouryon’s offer of leave Plaintiff
               22 was often expected to attend these calls or have a replacement attend, and that
               23 because such calls had several attendees across the globe they could not be
               24 rescheduled. Nouryon is without knowledge or information sufficient to form a
               25 belief as to the truth of whether Plaintiff was “dismayed” and therefore denies that
               26 allegation. All remaining allegations set forth in Paragraph 37 of the Complaint are
               27 denied.

LEWIS          28 / / /
B RISBOIS
B ISGAARD
& SMITHLLP
                    4867-8113-8962.2                             8              Case No. 22-cv-00058-BAS-BLM
                                         ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC
             Case 3:22-cv-00058-RBM-BLM Document 22 Filed 03/04/22 PageID.167 Page 9 of 32




                1            38.       Nouryon denies the allegations set forth in Paragraph 38 of the
                2 Complaint.
                3            39.       Nouryon admits that, as with other performance reviews, Ms. Carroll
                4 provided certain positive feedback to Plaintiff during his 2019 mid-year
                5 performance review. Nouryon further admits that this review occurred on or about
                6 July 9, 2019, that it occurred by phone, and that during the review Ms. Carroll
                7 thanked Plaintiff for covering the accounts of Plaintiff’s subordinates while they
                8 were on leave. Nouryon further admits it intended to eliminate the position of Sales
                9 Leader of Personal Care Products and that it intended to combine that role with
               10 leadership over Home Care Products to have a single leader over both product lines
               11 in North America. Nouryon further admits that due to Plaintiff’s poor managerial
               12 performance, and in lieu of terminating Plaintiff’s employment in connection with
               13 the elimination of his position, Ms. Carroll proposed to move Plaintiff into a new
               14 role of Channel Development Manager where he would have less managerial and
               15 administrative responsibilities and could focus more on distribution and certain key
               16 global accounts, and further admits that this move was to be initially classified as a
               17 lateral move. Nouryon further admits that Ms. Carroll extended Plaintiff a retention
               18 bonus offer of approximately $40,000 that was conditional upon Plaintiff meeting
               19 certain key performance indicators, including his assistance with the transition of
               20 Plaintiff’s team to a new manager, Bahar Azimipour. All remaining allegations set
               21 forth in Paragraph 39 of the Complaint are denied.
               22            40.       Nouryon admits the allegations set forth in Paragraph 40 of the
               23 Complaint.
               24            41.       Nouryon admits that Plaintiff’s job description for his role as Channel
               25 Development Manager was not finalized as of August 3, 2020. Nouryon states that it
               26 lacks knowledge or information sufficient to form a belief as to Plaintiff’s “dismay”
               27 and, therefore, denies that allegation. All remaining allegations set forth in

LEWIS          28 Paragraph 41 of the Complaint are denied.
B RISBOIS
B ISGAARD
& SMITHLLP
                    4867-8113-8962.2                             9              Case No. 22-cv-00058-BAS-BLM
                                         ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC
             Case 3:22-cv-00058-RBM-BLM Document 22 Filed 03/04/22 PageID.168 Page 10 of 32




                1            42.       Nouryon admits that, on or about September 3, 2020, Ms. Azimipour
                2 told Plaintiff that she required additional time to prepare a proposed job description
                3 for Plaintiff’s role as Channel Development Manager. Nouryon further admits that
                4 Ms. Azimipour committed to providing a proposed job description to Plaintiff by the
                5 end of September 2020. All remaining allegations set forth in Paragraph 42 of the
                6 Complaint are denied.
                7            43.       Nouryon denies the allegations set forth in Paragraph 43 of the
                8 Complaint.
                9            44.       Nouryon states that it is without knowledge or information sufficient to
               10 form a belief as to what Plaintiff “noticed” and, therefore, denies that allegations.
               11 All remaining allegations set forth in Paragraph 44 of the Complaint are denied.
               12            45.       Nouryon denies the allegations set forth in Paragraph 45 of the
               13 Complaint.
               14            46.       Nouryon denies the allegations set forth in Paragraph 46 of the
               15 Complaint.
               16            47.       Nouryon denies the allegations set forth in Paragraph 47 of the
               17 Complaint.
               18            48.       Nouryon admits the allegations set forth in Paragraph 48 of the
               19 Complaint.
               20            49.       Nouryon admits that on or about December 4, 2020, Plaintiff
               21 approached Suzanne Carroll and claimed that his 2019 short-term incentive bonus
               22 had been miscalculated, and that Ms. Carroll responded that his 2019 bonus had
               23 been properly calculated. Nouryon is without knowledge or information sufficient to
               24 form a belief as to the truth of what Plaintiff “believed” and therefore denies those
               25 allegations. Nouryon admits that Plaintiff routinely contacted Astrid Thompkins to
               26 vent and express dissatisfaction with his current manager, Bahar Azimipour, but
               27 denies that Plaintiff ever submitted a complaint to Ms. Thompkins or otherwise to

LEWIS          28 Nouryon’s Human Resources. All remaining allegations set forth in Paragraph 49 of
B RISBOIS
B ISGAARD
& SMITHLLP
                    4867-8113-8962.2                            10              Case No. 22-cv-00058-BAS-BLM
                                         ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC
             Case 3:22-cv-00058-RBM-BLM Document 22 Filed 03/04/22 PageID.169 Page 11 of 32




                1 the Complaint are denied.
                2            50.       Nouryon is without knowledge or information sufficient to form a
                3 belief as to whether Plaintiff took leave on or about December 11, 2020, because
                4 Plaintiff repeatedly failed to enter his vacation time into Nouryon’s system as
                5 required by Nouryon policy, and therefore it denies that allegation. Nouryon admits
                6 that Ms. Azimipour would sometimes e-mail Plaintiff while he was on vacation and
                7 that she did so with no expectation that Plaintiff would respond while out on
                8 vacation or otherwise perform work until he returned. Nouryon denies the remaining
                9 allegations set forth in Paragraph 50 of the Complaint.
               10            51.       Nouryon denies the allegations set forth in Paragraph 51 of the
               11 Complaint.
               12            52.       Nouryon admits that Ms. Azimipour met with Plaintiff by phone on or
               13 about January 22, 2021 to communicate his annual performance review, and that she
               14 gave him a negative overall rating of below target. Nouryon further admits that Ms.
               15 Azimipour provided Plaintiff with certain positive feedback during his review, but
               16 denies that she “praised Plaintiff for his excellent work performance[.]” Nouryon
               17 states that it is without knowledge or information sufficient to form a belief as to the
               18 truth of how Plaintiff “felt” about his performance review or the reasons for those
               19 feelings, and, therefore, denies those allegations. Nouryon admits that Plaintiff told
               20 Ms. Azimipour in response that he intended to appeal the review to Human
               21 Resources. Nouryon denies the remaining allegations set forth in Paragraph 52 of
               22 the Complaint.
               23            53.       Nouryon is without knowledge or information sufficient to form a
               24 belief as to whether Plaintiff took leave on or about February 17 and 18, 2021,
               25 because Plaintiff repeatedly failed to enter his vacation time into Nouryon’s system
               26 as required by Nouryon policy, practice and/or procedure, and therefore it denies
               27 that allegation. Nouryon states that it is without knowledge or information sufficient

LEWIS          28 to form a belief as to the remaining allegations set forth in Paragraph 53 and,
B RISBOIS
B ISGAARD
& SMITHLLP
                    4867-8113-8962.2                            11              Case No. 22-cv-00058-BAS-BLM
                                         ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC
             Case 3:22-cv-00058-RBM-BLM Document 22 Filed 03/04/22 PageID.170 Page 12 of 32




                1 therefore, denies them.
                2            54.       To the extent Paragraph 54 of the Complaint alleges that any leave
                3 Plaintiff took between February 17 and 18, 2021 qualified for protection under state
                4 or federal law, it asserts legal conclusions for which no response is required. If one
                5 is required, Nouryon denies those allegations. Nouryon admits that Ms. Azimipour
                6 attempted to contact Plaintiff on or about February 17, 2021 to follow-up on the
                7 status of Plaintiff providing certain information Ms. Azimipour required prior to a
                8 meeting set for that day because Plaintiff had failed for a week to provide it.
                9 Nouryon is without knowledge or information sufficient to form a belief as to
               10 whether Plaintiff took personal leave on or about February 17, 2021, because
               11 Plaintiff repeatedly failed to enter his vacation time into Nouryon’s system as
               12 required by Nouryon policy, and therefore it denies that allegation. Nouryon denies
               13 all remaining allegations set forth in Paragraph 54.
               14            55.       Nouryon admits that Ms. Azimipour contacted Plaintiff on or about
               15 February 24, 2021, to ask why Plaintiff unilaterally cancelled a contract with a
               16 distributor valued at over one million dollars without prior approval from Nouryon
               17 to do so, and that she instructed Plaintiff not to communicate further with that
               18 specific distributor. Nouryon denies that Plaintiff provided any explanation for his
               19 decision to do so. Nouryon states that it is without knowledge or information
               20 sufficient to form a belief as to whether Plaintiff was “surprised” and, therefore,
               21 denies that allegation. Nouryon denies all remaining allegations set forth in
               22 Paragraph 55 of the Complaint.
               23            56.       Nouryon admits that Plaintiff told Astrid Thompkins on or around
               24 February 24, 2021, that he believed Nouryon was upset with him because, according
               25 to Plaintiff, Nouryon was self-insured and the care his son required was costing
               26 Nouryon a significant sum of money. Nouryon denies that Plaintiff’s belief has any
               27 basis in fact, and denies all remaining allegations set forth in Paragraph 56 of the

LEWIS          28 Complaint.
B RISBOIS
B ISGAARD
& SMITHLLP
                    4867-8113-8962.2                            12              Case No. 22-cv-00058-BAS-BLM
                                         ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC
             Case 3:22-cv-00058-RBM-BLM Document 22 Filed 03/04/22 PageID.171 Page 13 of 32




                1            57.       Nouryon admits that it terminated Plaintiff’s employment effective
                2 February 26, 2021. Nouryon denies all remaining allegations set forth in Paragraph
                3 57 of the Complaint.
                4            58.       To the extent this paragraph sets forth legal conclusions, no response is
                5 required. If one is required, Nouryon denies the allegations set forth in Paragraph 58
                6 of the Complaint.
                7            59.       The allegations set forth in Paragraph 59 of the Complaint assert legal
                8 conclusions to which no response is required. If one is required, Nouryon denies the
                9 allegations in Paragraph 59.
               10                                    FIRST CAUSE OF ACTION
               11                          BREACH OF EMPLOYMENT CONTRACT
               12            60.       Nouryon incorporates its admissions and denials to the foregoing
               13 Paragraphs as if fully set forth herein.
               14            61.       The allegations in Paragraph 61 of the Complaint assert legal
               15 conclusions to which no response is required. To the extent a response is required,
               16 Nouryon denies the allegations in Paragraph 61.
               17            62.       Nouryon denies the allegations in Paragraph 62 of the Complaint.
               18            63.       The allegations in Paragraph 63 assert legal conclusions to which no
               19 response is required. To the extent a response is required, Nouryon denies the
               20 allegations in Paragraph 63.
               21            64.       The allegations in Paragraph 64 assert legal conclusions to which no
               22 response is required. To the extent a response is required, Nouryon lacks knowledge
               23 or information sufficient to form a belief as to the truth of the allegations of what
               24 Plaintiff “expected” and therefore denies those allegations. Further answering,
               25 Nouryon denies that it terminated Plaintiff’s employment for any reason alleged by
               26 plaintiff. Rather, Plaintiff’s employment was terminated due to Plaintiff’s
               27 significant performance failures. All remaining allegations set forth in Paragraph 64

LEWIS          28 of the Complaint are denied.
B RISBOIS
B ISGAARD
& SMITHLLP
                    4867-8113-8962.2                            13              Case No. 22-cv-00058-BAS-BLM
                                         ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC
             Case 3:22-cv-00058-RBM-BLM Document 22 Filed 03/04/22 PageID.172 Page 14 of 32




                1            65.       The allegations in Paragraph 65 assert legal conclusions to which no
                2 response is required. To the extent a response is required, Nouryon denies the
                3 allegations in Paragraph 65.
                4            66.       The allegations in Paragraph 66 assert legal conclusions to which no
                5 response is required. To the extent a response is required, Nouryon denies the
                6 allegations in Paragraph 66.
                7                                  SECOND CAUSE OF ACTION
                8                                     AGE DISCRIMINATION
                9            67.       Nouryon incorporates its admissions and denials to the foregoing
               10 Paragraphs as if fully set forth herein.
               11            68.       The allegations in Paragraph 68 of the Complaint assert legal
               12 conclusions to which no response is required. To the extent a response is required,
               13 Nouryon admits that it employed Plaintiff from October 2018 until February 26,
               14 2021, and further states Section 12926(c) of the California Government Code and
               15 Sections 12940(a) and (c) of the California Government Code speak for themselves.
               16 All remaining allegations in Paragraph 68 are denied.
               17            69.       The allegations in Paragraph 69 assert legal conclusions to which no
               18 response is required. To the extent a response is required, Nouryon admits that it
               19 employed Plaintiff from October 2018 until February 26, 2021, and further states
               20 Section 12926(d) of the California Government Code and Sections 12940(a) and (c)
               21 of the California Government Code speak for themselves. All remaining allegations
               22 in Paragraph 69 are denied.
               23            70.       The allegations in Paragraph 70 of the Complaint assert legal
               24 conclusions to which no response is required. To the extent a response is required,
               25 Nouryon denies the allegations in Paragraph 70.
               26            71.       The allegations in Paragraph 71 of the Complaint assert legal
               27 conclusions to which no response is required. To the extent a response is required,

LEWIS          28 Nouryon denies the allegations in Paragraph 71.
B RISBOIS
B ISGAARD
& SMITHLLP
                    4867-8113-8962.2                            14              Case No. 22-cv-00058-BAS-BLM
                                         ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC
             Case 3:22-cv-00058-RBM-BLM Document 22 Filed 03/04/22 PageID.173 Page 15 of 32




                1            72.       The allegations in Paragraph 72 of the Complaint assert legal
                2 conclusions to which no response is required. To the extent a response is required,
                3 Nouryon denies the allegations in Paragraph 72.
                4                                   THIRD CAUSE OF ACTION
                5                      ASSOCIATIONAL DISABILITY DISCRIMINATION
                6            73.       Nouryon incorporates its admissions and denials to the foregoing
                7 Paragraphs as if fully set forth herein.
                8            74.       The allegations in Paragraph 74 of the Complaint assert legal
                9 conclusions to which no response is required. To the extent a response is required,
               10 Nouryon admits that it employed Plaintiff from October 2018 until February 26,
               11 2021, and further states Section 12926(c) of the California Government Code and
               12 Sections 12940(a) and (c) of the California Government Code speak for themselves.
               13 All remaining allegations in Paragraph 74 are denied.
               14            75.       The allegations in Paragraph 75 of the Complaint assert legal
               15 conclusions to which no response is required. To the extent a response is required,
               16 Nouryon admits that it employed Plaintiff from October 2018 until February 26,
               17 2021, and further states Section 12926(d) of the California Government Code and
               18 Sections 12940(a) and (c) of the California Government Code speak for themselves.
               19 All remaining allegations in Paragraph 75 are denied.
               20            76.       The allegations in Paragraph 76 of the Complaint assert legal
               21 conclusions to which no response is required. To the extent a response is required,
               22 Nouryon states that Sections 12940(a) and (c) of the California Government Code,
               23 Article I of the California Constitution, and Castro-Ramirez v. Dependable Highway
               24 Express Inc. (2016) 2 Cal. App. 5th 1028 speak for themselves. All remaining
               25 allegations in Paragraph 76 are denied.
               26            77.       The allegations in Paragraph 77 of the Complaint assert legal
               27 conclusions to which no response is required. To the extent a response is required,

LEWIS          28 Nouryon denies the allegations.
B RISBOIS
B ISGAARD
& SMITHLLP
                    4867-8113-8962.2                            15              Case No. 22-cv-00058-BAS-BLM
                                         ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC
             Case 3:22-cv-00058-RBM-BLM Document 22 Filed 03/04/22 PageID.174 Page 16 of 32




                1            78.       The allegations in Paragraph 78 of the Complaint assert legal
                2 conclusions to which no response is required. To the extent a response is required,
                3 Nouryon denies the allegations.
                4                                  FOURTH CAUSE OF ACTION
                5                         FAILURE TO ACCOMMODATE DISABILITY
                6            79.       Nouryon incorporates its admissions and denials to the foregoing
                7 Paragraphs as if fully set forth herein.
                8            80.       The allegations in Paragraph 80 of the Complaint assert legal
                9 conclusions to which no response is required. To the extent a response is required,
               10 Nouryon admits that it employed Plaintiff from October 2018 until February 26,
               11 2021, and further states Section 12926(c) of the California Government Code and
               12 Sections 12940(a) and (c) of the California Government Code speak for themselves.
               13 All remaining allegations in Paragraph 80 are denied.
               14            81.       The allegations in Paragraph 81 assert legal conclusions to which no
               15 response is required. To the extent a response is required, Nouryon admits that it
               16 employed Plaintiff from October 2018 until February 26, 2021 and further states
               17 Section 12926(d) of the California Government Code and Sections 12940(a) and (c)
               18 of the California Government Code speak for themselves. All the remaining
               19 allegations in Paragraph 81 of the Complaint are denied.
               20            82.       Nouryon lacks knowledge or information sufficient to form a belief as
               21 to the truth of the allegations in Paragraph 82 of the Complaint and therefore denies
               22 them.
               23            83.       The allegations in Paragraph 83 of the Complaint assert legal
               24 conclusions to which no response is required. To the extent a response is required,
               25 Defendants deny the allegations in Paragraph 83.
               26            84.       The allegations in Paragraph 84 of the Complaint assert legal
               27 conclusions to which no response is required. To the extent a response is required,

LEWIS          28 Defendants deny the allegations in Paragraph 84.
B RISBOIS
B ISGAARD
& SMITHLLP
                    4867-8113-8962.2                            16              Case No. 22-cv-00058-BAS-BLM
                                         ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC
             Case 3:22-cv-00058-RBM-BLM Document 22 Filed 03/04/22 PageID.175 Page 17 of 32




                1            85.       The allegations in Paragraph 85 of the Complaint assert legal
                2 conclusions to which no response is required. To the extent a response is required,
                3 Defendants deny the allegations in Paragraph 85.
                4                                   FIFTH CAUSE OF ACTION
                5             FAILURE TO ENGAGE IN THE INTERACTIVE PROCESS OF
                                             ACCOMMODATION
                6
                7            86.       Nouryon incorporates its admissions and denials to the foregoing
                8 Paragraphs as if fully set forth herein.
                9            87.       The allegations in Paragraph 87 of the Complaint assert legal
               10 conclusions to which no response is required. To the extent a response is required,
               11 Nouryon admits that it employed Plaintiff from October 2018 until February 26,
               12 2021 and further states that Section 12926(c) of the California Government Code
               13 and Sections 12940(a) and (c) of the California Government Code speak for
               14 themselves. All remaining allegations in Paragraph 87 are denied.
               15            88.       The allegations in Paragraph 88 of the Complaint assert legal
               16 conclusions to which no response is required. To the extent a response is required,
               17 Nouryon admits that it employed Plaintiff from October 2018 until February 26,
               18 2021, and further states that Section 12926(d) of the California Government Code
               19 and Sections 12940(a) and (c) of the California Government Code speak for
               20 themselves. All remaining allegations in Paragraph 88 are denied.
               21            89.       Nouryon lacks knowledge or information sufficient to form a belief as
               22 to the truth of the allegations in Paragraph 89 of the Complaint and therefore denies
               23 them.
               24            90.       The allegations in Paragraph 90 of the Complaint assert legal
               25 conclusions to which no response is required. To the extent a response is required,
               26 Nouryon denies the allegations in Paragraph 90.
               27            91.       The allegations in Paragraph 91 of the Complaint assert legal

LEWIS          28 conclusions to which no response is required. To the extent a response is required,
B RISBOIS
B ISGAARD
& SMITHLLP
                    4867-8113-8962.2                            17              Case No. 22-cv-00058-BAS-BLM
                                         ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC
             Case 3:22-cv-00058-RBM-BLM Document 22 Filed 03/04/22 PageID.176 Page 18 of 32




                1 Nouryon denies the allegations in Paragraph 91.
                2            92.       The allegations in Paragraph 92 of the Complaint assert legal
                3 conclusions to which no response is required. To the extent a response is required,
                4 Nouryon denies the allegations in Paragraph 92.
                5                                   SIXTH CAUSE OF ACTION
                6                FAMILY AND MEDICAL LEAVE DISCRIMINATION AND
                                                RETALIATION
                7
                8            93.       Nouryon incorporates its admissions and denials to the foregoing
                9 Paragraphs as if fully set forth herein.
               10            94.       The allegations in Paragraph 94 of the Complaint assert legal
               11 conclusions to which no response is required. To the extent a response is required,
               12 Nouryon states that the Fair Employment and Housing Act, Section 12940 et seq. of
               13 the Government Code, the California Family Rights Act, and the Family Medical
               14 Leave Act speak for themselves. Nouryon denies any remaining allegations in
               15 Paragraph 94.
               16            95.       Nouryon denies the allegations set forth in Paragraph 95 of the
               17 Complaint.
               18            96.       The allegations in Paragraph 96 of the Complaint assert legal
               19 conclusions to which no response is required. To the extent a response is required,
               20 Nouryon denies the allegations in Paragraph 96.
               21            97.       The allegations in Paragraph 97 of the Complaint assert legal
               22 conclusions to which no response is required. To the extent a response is required,
               23 Nouryon denies the allegations in Paragraph 97.
               24            98.       The allegations in Paragraph 98 of the Complaint assert legal
               25 conclusions to which no response is required. To the extent a response is required,
               26 Nouryon denies the allegations in Paragraph 98.
               27            99.       The allegations in Paragraph 99 of the Complaint assert legal

LEWIS          28 conclusions to which no response is required. To the extent a response is required,
B RISBOIS
B ISGAARD
& SMITHLLP
                    4867-8113-8962.2                            18              Case No. 22-cv-00058-BAS-BLM
                                         ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC
             Case 3:22-cv-00058-RBM-BLM Document 22 Filed 03/04/22 PageID.177 Page 19 of 32




                1 Nouryon denies the allegations in Paragraph 99.
                2            100. The allegations in Paragraph 100 of the Complaint assert legal
                3 conclusions to which no response is required. To the extent a response is required,
                4 Nouryon denies the allegations in Paragraph 100.
                5            101. The allegations in Paragraph 101 of the Complaint assert legal
                6 conclusions to which no response is required. To the extent a response is required,
                7 Nouryon denies the allegations in Paragraph 101.
                8            102. The allegations in Paragraph 102 of the Complaint assert legal
                9 conclusions to which no response is required. To the extent a response is required,
               10 Nouryon denies the allegations in Paragraph 102.
               11                              SEVENTH CAUSE OF ACTION
               12 WHISTLEBLOWER RETALIATION IN VIOLATION OF LABOR CODE §
                                         1102.5
               13
               14            103. Nouryon incorporates its admissions and denials to the foregoing
               15 Paragraphs as if fully set forth herein.
               16            104. The allegations in Paragraph 104 of the Complaint assert legal
               17 conclusions to which no response is required. To the extent a response is required,
               18 Nouryon denies the allegations in Paragraph 104.
               19            105. The allegations in Paragraph 105 of the Complaint assert legal
               20 conclusions to which no response is required. To the extent a response is required,
               21 Nouryon denies the allegations in Paragraph 105.
               22            106. The allegations in Paragraph 106 of the Complaint assert legal
               23 conclusions to which no response is required. To the extent a response is required,
               24 Nouryon denies the allegations in Paragraph 106.
               25            107. The allegations in Paragraph 107 of the Complaint assert legal
               26 conclusions to which no response is required. To the extent a response is required,
               27 Nouryon denies the allegations in Paragraph 107.

LEWIS          28 / / /
B RISBOIS
B ISGAARD
& SMITHLLP
                    4867-8113-8962.2                          19              Case No. 22-cv-00058-BAS-BLM
                                       ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC
             Case 3:22-cv-00058-RBM-BLM Document 22 Filed 03/04/22 PageID.178 Page 20 of 32




                1                               EIGHTH CAUSE OF ACTION
                2          RETALIATION FOR COMPLAINTS OF DISCRIMINATION AND
                                             HARASSMENT
                3
                             108. Nouryon incorporates its admissions and denials to the foregoing
                4
                    Paragraphs as if fully set forth herein.
                5
                             109. The allegations in Paragraph 109 of the Complaint assert legal
                6
                    conclusions to which no response is required. To the extent a response is required,
                7
                    Nouryon denies the allegations in Paragraph 109.
                8
                             110. The allegations in Paragraph 110 of the Complaint assert legal
                9
                    conclusions to which no response is required. To the extent a response is required,
               10
                    Nouryon denies the allegations in Paragraph 110.
               11
                             111. The allegations in Paragraph 111 of the Complaint assert legal
               12
                    conclusions to which no response is required. To the extent a response is required,
               13
                    Nouryon denies the allegations in Paragraph 111.
               14
                                                 NINTH CAUSE OF ACTION
               15
                             KIN CARE LEAVE DISCRIMINATION AND RETALIATION IN
               16                      VIOLATION OF LABOR CODE § 233
               17            112. Nouryon incorporates its admissions and denials to the foregoing
               18 Paragraphs as if fully set forth herein.
               19            113. The allegations in Paragraph 113 of the Complaint assert legal
               20 conclusions to which no response is required. To the extent a response is required,
               21 Nouryon admits that it employed Plaintiff from October 2018 until February 26,
               22 2021, and further states that Section 12926(c) of the California Government Code
               23 and Sections 12940(a) and (c) of the California Government Code speak for
               24 themselves. All remaining allegations in Paragraph 113 are denied.
               25            114. The allegations in Paragraph 114 of the Complaint assert legal
               26 conclusions to which no response is required. To the extent a response is required,
               27 Nouryon admits that it employed Plaintiff from October 2018 until February 26,

LEWIS          28 2021, and further states that Section 12926(d) of the California Government Code,
B RISBOIS
B ISGAARD
& SMITHLLP
                    4867-8113-8962.2                          20              Case No. 22-cv-00058-BAS-BLM
                                       ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC
             Case 3:22-cv-00058-RBM-BLM Document 22 Filed 03/04/22 PageID.179 Page 21 of 32




                1 Sections 12940(a) and (c) of the California Government Code, and Section 233 of
                2 the California Labor Code speak for themselves. All remaining allegations in
                3 Paragraph 114 are denied.
                4            115. The allegations in Paragraph 115 of the Complaint assert legal
                5 conclusions to which no response is required. To the extent a response is required,
                6 Nouryon denies the allegations in Paragraph 115.
                7            116. The allegations in Paragraph 116 of the Complaint assert legal
                8 conclusions to which no response is required. To the extent a response is required,
                9 Nouryon denies the allegations in Paragraph 116.
               10            117. The allegations in Paragraph 117 of the Complaint assert legal
               11 conclusions to which no response is required. To the extent a response is required,
               12 Nouryon denies the allegations in Paragraph 117.
               13                                  TENTH CAUSE OF ACTION
               14                      SICK LEAVE DISCRIMINATION AND RETALIATION
               15            118. Nouryon incorporates its admissions and denials to the foregoing
               16 Paragraphs as if fully set forth herein.
               17            119. The allegations in Paragraph 119 of the Complaint assert legal
               18 conclusions to which no response is required. To the extent a response is required,
               19 Nouryon admits that it employed Plaintiff from October 2018 until February 26,
               20 2021, and further states that Section 12926(c) of the California Government Code
               21 and Sections 12940(a) and (c) of the California Government Code speak for
               22 themselves. All remaining allegations in Paragraph 119 are denied.
               23            120. The allegations in Paragraph 120 of the Complaint assert legal
               24 conclusions to which no response is required. To the extent a response is required,
               25 Nouryon admits that it employed Plaintiff from October 2018 until February 26,
               26 2021, and further states that Section 12926(d) of the California Government Code,
               27 Sections 12940(a) and (c) of the California Government Code, and Section 233 of

LEWIS          28 the California Labor Code speak for themselves. All remaining allegations in
B RISBOIS
B ISGAARD
& SMITHLLP
                    4867-8113-8962.2                            21              Case No. 22-cv-00058-BAS-BLM
                                         ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC
             Case 3:22-cv-00058-RBM-BLM Document 22 Filed 03/04/22 PageID.180 Page 22 of 32




                1 Paragraph 120 are denied.
                2            121. The allegations set forth in Paragraph 121 of the Complaint asserts
                3 legal conclusions for which no response is required. If one is required, Nouryon
                4 admits that Suzanne Carroll directly managed Plaintiff from December 2019 until
                5 August 2020, and denies all remaining allegations in Paragraph 121.
                6            122. The allegations in Paragraph 122 of the Complaint assert legal
                7 conclusions to which no response is required. To the extent a response is required,
                8 Nouryon denies the allegations in Paragraph 122.
                9            123. The allegations in Paragraph 123 of the Complaint assert legal
               10 conclusions to which no response is required. To the extent a response is required,
               11 Nouryon denies the allegations in Paragraph 123.
               12            124. The allegations in Paragraph 124 of the Complaint assert legal
               13 conclusions to which no response is required. To the extent a response is required,
               14 Nouryon denies the allegations in Paragraph 124.
               15                             ELEVENTH CAUSE OF ACTION
               16                               WRONGFUL TERMINATION
               17            125. Nouryon incorporates its admissions and denials to the foregoing
               18 Paragraphs as if fully set forth herein.
               19            126. The allegations in Paragraph 126 of the Complaint assert legal
               20 conclusions to which no response is required. To the extent a response is required,
               21 Nouryon denies the allegations in Paragraph 126.
               22            127. The allegations in Paragraph 127 of the Complaint assert legal
               23 conclusions to which no response is required. To the extent a response is required,
               24 Nouryon denies the allegations in Paragraph 127.
               25            128. The allegations in Paragraph 128 of the Complaint assert legal
               26 conclusions to which no response is required. To the extent a response is required,
               27 Nouryon denies the allegations in Paragraph 128.

LEWIS          28 / / /
B RISBOIS
B ISGAARD
& SMITHLLP
                    4867-8113-8962.2                          22              Case No. 22-cv-00058-BAS-BLM
                                       ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC
             Case 3:22-cv-00058-RBM-BLM Document 22 Filed 03/04/22 PageID.181 Page 23 of 32




                1            129. The allegations in Paragraph 129 of the Complaint assert legal
                2 conclusions to which no response is required. To the extent a response is required,
                3 Nouryon denies the allegations in Paragraph 129.
                4                              TWELFTH CAUSE OF ACTION
                5                INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                6            130. Nouryon incorporates its admissions and denials to the foregoing
                7 Paragraphs as if fully set forth herein.
                8            131. The allegations in Paragraph 131 of the Complaint assert legal
                9 conclusions to which no response is required. To the extent a response is required,
               10 Nouryon denies the allegations in Paragraph 131.
               11            132. The allegations in Paragraph 132 of the Complaint assert legal
               12 conclusions to which no response is required. To the extent a response is required,
               13 Nouryon denies the allegations in Paragraph 132.
               14            133. The allegations in Paragraph 133 of the Complaint assert legal
               15 conclusions to which no response is required. To the extent a response is required,
               16 Nouryon denies the allegations in Paragraph 133.
               17            134. The allegations in Paragraph 134 of the Complaint assert legal
               18 conclusions to which no response is required. To the extent a response is required,
               19 Nouryon denies the allegations in Paragraph 134.
               20            135. The allegations in Paragraph 135 of the Complaint assert legal
               21 conclusions to which no response is required. To the extent a response is required,
               22 Nouryon denies the allegations in Paragraph 135.
               23                            THIRTEENTH CAUSE OF ACTION
               24                                       NEGLIGENCE
               25            136. Nouryon incorporates its admissions and denials to the foregoing
               26 Paragraphs as if fully set forth herein.
               27            137. The allegations in Paragraph 137 of the Complaint assert legal

LEWIS          28 conclusions to which no response is required. To the extent a response is required,
B RISBOIS
B ISGAARD
& SMITHLLP
                    4867-8113-8962.2                          23              Case No. 22-cv-00058-BAS-BLM
                                       ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC
             Case 3:22-cv-00058-RBM-BLM Document 22 Filed 03/04/22 PageID.182 Page 24 of 32




                1 Nouryon denies the allegations in Paragraph 137.
                2            138. The allegations in Paragraph 138 of the Complaint assert legal
                3 conclusions to which no response is required. To the extent a response is required,
                4 Nouryon denies the allegations in Paragraph 138.
                5                                AFFIRMATIVE DEFENSES
                6            Defendant has not completed its investigation of the facts of this case, has not
                7 completed discovery in this matter, and has not completed its preparation for trial.
                8 The defenses stated herein are based on Defendant’s knowledge, information, and
                9 belief at this time. Defendant specifically reserves the right to modify, amend, or
               10 supplement any defense contained herein at any time. Without conceding that it
               11 bears the burden of proof or persuasion as to any one of them, Defendant asserts the
               12 following separate affirmative defenses to the Complaint.
               13                             FIRST AFFIRMATIVE DEFENSE
               14                             (Failure to State a Cause of Action)
               15            139. Plaintiff fails to state a claim upon which relief can be granted.
               16                            SECOND AFFIRMATIVE DEFENSE
               17                                     (Failure to Mitigate)
               18            140. Plaintiff’s claims are barred, in whole or in part, to the extent he has
               19 failed to mitigate is damages.
               20                             THIRD AFFIRMATIVE DEFENSE
               21                          (Legitimate, Non-Discriminatory Reasons)
               22            141. Nouryon had a legitimate, non-discriminatory, non-pretextual reason
               23 for terminating Plaintiff’s employment and otherwise subjecting him to adverse
               24 employment action.
               25                           FOURTH AFFIRMATIVE DEFENSE
               26                                         (No Contract)
               27            142. Plaintiff failed to attach a copy of the purported contracts which serve

LEWIS          28 as the basis of Count I of his Complaint as required by the Federal Rules of Civil
B RISBOIS
B ISGAARD
& SMITHLLP
                    4867-8113-8962.2                          24              Case No. 22-cv-00058-BAS-BLM
                                       ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC
             Case 3:22-cv-00058-RBM-BLM Document 22 Filed 03/04/22 PageID.183 Page 25 of 32




                1 Procedure.
                2                             FIFTH AFFIRMATIVE DEFENSE
                3                              (Reasonableness and Good Faith)
                4            143. Defendant and its agents acted reasonably and in good faith at all times
                5 material herein based on all relevant facts and circumstances known by them at the
                6 time they so acted. Accordingly, Plaintiff is barred from any recovery in this action.
                7                             SIXTH AFFIRMATIVE DEFENSE
                8                                           (Waiver)
                9            144. Plaintiff has waived whatever right he may have had to assert the
               10 purported claims contained in the Complaint and each purported cause of action
               11 thereof against Defendant.
               12                           SEVENTH AFFIRMATIVE DEFENSE
               13                                    (Speculative Damages)
               14            145. Plaintiff is precluded from recovering the damages alleged in the
               15 Complaint because those damages are too vague, uncertain and speculative to permit
               16 recovery.
               17                            EIGHTH AFFIRMATIVE DEFENSE
               18                                       (Unclean Hands)
               19            146. Plaintiff is barred from maintaining the Complaint and each purported
               20 cause of action therein as a result of his unclean hands with respect to the events
               21 upon which the Complaint and purported causes of action allegedly are based.
               22                             NINTH AFFIRMATIVE DEFENSE
               23                             (After-Acquired Evidence Doctrine)
               24            147. The Complaint is limited or subject to an absolute bar as to recoverable
               25 damages based on after-acquired evidence that Defendant has presently and/or may
               26 acquire during the course of this litigation.
               27 / / /

LEWIS          28 / / /
B RISBOIS
B ISGAARD
& SMITHLLP
                    4867-8113-8962.2                          25              Case No. 22-cv-00058-BAS-BLM
                                       ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC
             Case 3:22-cv-00058-RBM-BLM Document 22 Filed 03/04/22 PageID.184 Page 26 of 32




                1                            TENTH AFFIRMATIVE DEFENSE
                2                                    (Business Justification)
                3            148. Defendant’s activities undertaken with respect to Plaintiff, if any, were
                4 justified as such activities were proper, fair, and legitimate business activities and/or
                5 due to business-related reasons which were neither arbitrary, capricious, or
                6 unlawful.
                7                          ELEVENTH AFFIRMATIVE DEFENSE
                8                                          (No Notice)
                9            149. Plaintiff’s claims for relief pursuant to the Fair Employment and
               10 Housing Act are barred because Defendant had no notice of any alleged violation
               11 thereof.
               12                           TWELFTH AFFIRMATIVE DEFENSE
               13                                  (Avoidable Consequences)
               14            150. Plaintiff failed to utilize or exhaust, in good faith, Defendant’s
               15 reasonable internal grievance procedures, thus failing to avoid the consequences of
               16 any alleged discrimination or other alleged unlawful act.
               17                         THIRTEENTH AFFIRMATIVE DEFENSE
               18                                           (Consent)
               19            151. Plaintiff, at all relevant times gave her consent, express or implied, to
               20 the alleged acts, omissions and conduct of Defendant.
               21                        FOURTEENTH AFFIRMATIVE DEFENSE
               22                                   (Statute of Limitations)
               23            152. Certain of Plaintiff’s claims are barred in whole or in part to the extent
               24 the events complained of took place more than one (1) year prior to the filing of
               25 Plaintiff’s Complaint with the California Department of Fair Employment and
               26 Housing and/or one (1) year or two (2) years prior to the filing of the Complaint in
               27 this action, pursuant to California Government Code section 12965, subdivision (b)

LEWIS          28 and more than one (1) year, (3) years, or four (4) years prior to the filing of the
B RISBOIS
B ISGAARD
& SMITHLLP
                    4867-8113-8962.2                          26              Case No. 22-cv-00058-BAS-BLM
                                       ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC
             Case 3:22-cv-00058-RBM-BLM Document 22 Filed 03/04/22 PageID.185 Page 27 of 32




                1 Complaint pursuant to California Code of Civil Procedure sections 338 and 340.
                2                          FIFTEENTH AFFIRMATIVE DEFENSE
                3                                            (Laches)
                4            153. Plaintiff is barred by the doctrine of laches from pursuing his
                5 Complaint and each purported cause of action therein by reason of his inexcusable
                6 and unreasonable delay in filing the Complaint.
                7                          SIXTEENTH AFFIRMATIVE DEFENSE
                8                        (Failure to Exhaust Administrative Remedies)
                9            154. Plaintiff’s causes of action are barred as Plaintiff has failed to satisfy
               10 the statutory prerequisites to sue and to exhaust administrative remedies under the
               11 Fair Employment and Housing Act, Government Code section 12940 et seq.,
               12 Government Code section 815 et seq., the Equal Employment Opportunity
               13 Commission, 42 U.S.C. section 2000(e), et seq. (Title VII of the Civil Rights Act of
               14 1964), the California Labor Code, and/or any other applicable administrative
               15 remedy.
               16                           SEVENTEENTH AFFIRMATIVE DEFENSE
               17                      (Anti-Discrimination and Anti-Retaliation Policy)
               18            155. Defendant alleges that it maintained and enforced a strict anti-
               19 discrimination and anti-retaliation policy during the time in which Plaintiff alleges
               20 discrimination and retaliation.
               21                        EIGHTEENTH AFFIRMATIVE DEFENSE
               22                              (Failure to Use Reasonable Care)
               23            156. Plaintiff’s purported causes of action fail to state facts sufficient to
               24 constitute causes of action because Plaintiff willfully breached his duties as an
               25 employee, neglected his duties, failed to perform his duties, and/or failed to use
               26 reasonable care and diligence in the performance of his employment.
               27 / / /

LEWIS          28 / / /
B RISBOIS
B ISGAARD
& SMITHLLP
                    4867-8113-8962.2                          27              Case No. 22-cv-00058-BAS-BLM
                                       ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC
             Case 3:22-cv-00058-RBM-BLM Document 22 Filed 03/04/22 PageID.186 Page 28 of 32




                1                         NINETEENTH AFFIRMATIVE DEFENSE
                2                                  (Workers’ Compensation)
                3            157. Plaintiff is barred from seeking any damages for purported physical,
                4 mental or emotional injuries allegedly suffered as a result of his employment in that
                5 the sole and exclusive remedy in this respect is and was governed by the California
                6 Workers’ Compensation Act, California Labor Code sections 3200-4627.
                7                         TWENTIETH AFFIRMATIVE DEFENSE
                8                                (Good Cause for Termination)
                9            158. Plaintiff’s employment with Defendant was terminated for good cause
               10 and sufficient non-discriminatory reasons. Accordingly, Plaintiff is barred from any
               11 recovery in this action.
               12                       TWENTY-FIRST AFFIRMATIVE DEFENSE
               13                                       (Mixed-Motive)
               14            159. At the time of Plaintiff’s termination, there existed a legitimate reason
               15 to terminate Plaintiff which, standing alone, would have induced Defendant to make
               16 the same decision to terminate Plaintiff. (Harris v. City of Santa Monica (2013) 56
               17 Cal.4th 203, 231.)
               18                      TWENTY-SECOND AFFIRMATIVE DEFENSE
               19                                       (Mixed-Motive)
               20            160. Plaintiff is precluded from recovery of reinstatement, back pay or
               21 damages because of the mixed motive doctrine. (Harris v. City of Santa Monica
               22 (2013) 56 Cal.4th 203, 231.)
               23                       TWENTY-THIRD AFFIRMATIVE DEFENSE
               24                                      (Intentional Acts)
               25            161. The damages stated in the Complaint, if any, were caused by Plaintiff’s
               26 own intentional or negligent acts. Therefore, Plaintiff’s right of recovery is barred or
               27 limited.

LEWIS          28 / / /
B RISBOIS
B ISGAARD
& SMITHLLP
                    4867-8113-8962.2                          28              Case No. 22-cv-00058-BAS-BLM
                                       ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC
             Case 3:22-cv-00058-RBM-BLM Document 22 Filed 03/04/22 PageID.187 Page 29 of 32




                1                      TWENTY-FOURTH AFFIRMATIVE DEFENSE
                2                                     (Essential Functions)
                3            162. Plaintiff’s Complaint is barred, in whole or in part, because he could
                4 not perform the essential functions of his job duties.
                5                       TWENTY-FIFTH AFFIRMATIVE DEFENSE
                6                                    (At-Will Employment)
                7            163. Defendant maintains that Plaintiff’s Complaint is barred, in whole or in
                8 part, because its conduct was privileged as an exercise of its legal right to terminate
                9 an at-will employee.
               10                       TWENTY-SIXTH AFFIRMATIVE DEFENSE
               11                                (Reasonable Accommodations)
               12            164. Defendant maintains that it made all accommodations that were
               13 reasonably necessary to accommodate Plaintiff’s or his family member’s claimed
               14 disability.
               15                      TWENTY-SEVENTH AFFIRMATIVE DEFENSE
               16                         (Engaged in Good Faith Interactive Process)
               17            165. Defendant engaged in a timely, good faith, interactive process with
               18 Plaintiff to determine if an effective reasonable accommodation was available.
               19                      TWENTY-EIGHTH AFFIRMATIVE DEFENSE
               20                                      (Undue Hardship)
               21            166. Defendant maintains that it made all accommodations that were
               22 reasonably necessary to accommodate Plaintiff. However, if any accommodation
               23 could not be provided to Plaintiff, it was because providing such an accommodation
               24 would have created an undue hardship for Defendant.
               25                       TWENTY-NINTH AFFIRMATIVE DEFENSE
               26                                  (No Intentional Conduct)
               27            167. Defendant did not engage in intentional conduct entitling Plaintiff to

LEWIS          28 recovery of damages.
B RISBOIS
B ISGAARD
& SMITHLLP
                    4867-8113-8962.2                          29              Case No. 22-cv-00058-BAS-BLM
                                       ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC
             Case 3:22-cv-00058-RBM-BLM Document 22 Filed 03/04/22 PageID.188 Page 30 of 32




                1                          THIRTIETH AFFIRMATIVE DEFENSE
                2                           (Conduct of Others, Including Plaintiff)
                3            168. Should it be found that Defendant is liable for any damages stated by
                4 Plaintiff, which Defendant specifically denies, Defendant alleges that such damages
                5 were proximately caused and/or contributed to by parties other than Defendant,
                6 including Plaintiff, whether served or not served in this case, and/or by other
                7 persons or entities not presently parties to this action. It is necessary that the
                8 proportionate degree of fault and/or legal responsibility of each and every person or
                9 entity be determined and prorated and that any judgment that may be rendered
               10 against Defendant be reduced not only by the degree of fault or other legal
               11 responsibility attributable to Plaintiff, but by the total of that degree of fault and/or
               12 other legal responsibility found to exist as to other person(s) and/or entities as well.
               13                        THIRTY-FIRST AFFIRMATIVE DEFENSE
               14                                       (No Retaliation)
               15            169. Defendant’s actions toward Plaintiff, if any, did not constitute
               16 retaliation for complaining about alleged violations of the law.
               17                      THIRTY-SECOND AFFIRMATIVE DEFENSE
               18                                       (Lack of Pretext)
               19            170. Defendant alleges that Plaintiff cannot establish that Defendant’s
               20 articulated reason for Plaintiff’s separation of employment was a pretext for
               21 unlawful discrimination or retaliation.
               22                        THIRTY-THIRD AFFIRMATIVE DEFENSE
               23                                       (Other Defenses)
               24            155. Defendant hereby gives notice that it intends to rely upon such other
               25 and further affirmative defenses as may become available during discovery in this
               26 action and reserves the right to amend its Answer to ascertain any such defenses.
               27 / / /

LEWIS          28 / / /
B RISBOIS
B ISGAARD
& SMITHLLP
                    4867-8113-8962.2                          30              Case No. 22-cv-00058-BAS-BLM
                                       ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC
             Case 3:22-cv-00058-RBM-BLM Document 22 Filed 03/04/22 PageID.189 Page 31 of 32




                1                                             PRAYER
                2            Wherefore, Defendant prays that:
                3            1.        Plaintiff take nothing by the Complaint;
                4            2.        Judgment be rendered in favor of Defendant;
                5            3.        Defendant be awarded costs of suit; and
                6            4.        Defendant be awarded whatever further relief the Court deems just and
                7 proper.
                8
                9 DATED: March 4, 2022                        LEWIS BRISBOIS BISGAARD & SMITH LLP
               10
               11
                                                              By:         /s/ Ashleigh R. Kasper
               12
                                                                    Ashleigh R. Kasper
               13                                                   Timothy J. Watson
               14                                                   Attorneys for Defendant, NOURYON
                                                                    SURFACE CHEMISTRY LLC
               15
               16 DATED: March 4, 2022                        THOMPSON HINE LLP
               17
               18
                                                              By:         Megan S. Glowacki
               19
                                                                    Megan S. Glowacki (Pro Hac Vice)
               20                                                   Anthony P. McNamara (Pro Hac Vice)
                                                                    Attorneys for Defendant, NOURYON
               21
                                                                    SURFACE CHEMISTRY LLC
               22
               23
               24
               25
               26
               27

LEWIS          28
B RISBOIS
B ISGAARD
& SMITHLLP
                    4867-8113-8962.2                            31              Case No. 22-cv-00058-BAS-BLM
                                         ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC
             Case 3:22-cv-00058-RBM-BLM Document 22 Filed 03/04/22 PageID.190 Page 32 of 32




                1                               CERTIFICATE OF SERVICE
                2            I hereby certify that, on March 4, 2022, I electronically filed the foregoing
                3 ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC with
                4 the Clerk of the Court using the CM/ECF system, which will send notification of
                5 such filing via electronic mail to all counsel of record.
                6
                7 Dated: March 4, 2022                                     /s/ Ashleigh Kasper
                                                                           Ashleigh R. Kasper
                8
                9
               10
               11
               12
               13
               14
               15
               16
               17
               18
               19
               20
               21
               22
               23
               24
               25
               26
               27

LEWIS          28
B RISBOIS
B ISGAARD
& SMITHLLP
                    4867-8113-8962.2                          32              Case No. 22-cv-00058-BAS-BLM
                                       ANSWER OF DEFENDANT NOURYON SURFACE CHEMISTRY LLC
